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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA          )
                                  )
v.                                )       Criminal No. 18-10398-IT
                                  )
                                  )
ANDREW BARTLETT                   )

                          JOINT STATUS REPORT

     Pursuant to Local Rule 116.5(A), the parties are hereby

jointly filing the following status report prepared in

connection with the Initial Status Conference scheduled for

January 18, 2019.

      1. Automatic Discovery Status/Outstanding Discovery

Requests

      Discovery on this case was begun on 10/2/18 when the

following discovery was produced:         ATF Reports-1, Power point-

84, Historical Cell Site Location Request-88, Search Warrant

Materials- 97, Photos from Search Warrant- 195 Photos of

Firearm- 198, Stolen Gun- 201, RMV and BOP- 203, Phone info- 210

Mapping- 215, Trace-228, Middleborough PD Report Regarding Theft

of Gun- 230 MSP Ballistics Report- 238, CD containing voicemail

to Wainwright- 241, On scene photos- 242, at office photos- 267

Photos with description- 290, Electronic Media: post arrest

recorded interview Taunton PD- 295.         On October 4, 2018, the

government produced an Additional ATF Report (297), Surveillance

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and Interview Notes (298), and additional Ballistics Reports

(324), and the ATF report for the execution of the search

warrant together with all attachments (330-405).             On October 9,

2018, the government produced additional ATF Reports (406-418).

Documents 419-501 were inadvertently produced from another case.

Please disregard and discard them.          Grand jury transcript for

ATF S/A Kefalas was produced as document Nos. 502-522.              On

November 28, 2018 a discovery package from the State police

Crime Lab pertaining to the Ballistics report was produced as

documents 523-602.      Thereafter, additional ATF Reports were

produced as documents 603-613 and search warrant materials for

the Defendant’s phone seized at arrest were produced as

documents 614-34.

     The automatic discovery letter was sent out on 1-13-19. The

government acknowledges that this was late.

     Two CD’s have also provided to date and relate to the

following: Voicemail to Wainwright recording (Doc. 241), ATF

Post Arrest Interview (Doc 295).

     2.    Additional Discovery

     The government believes that there may be            one or more ATF

Reports (including returns) outstanding and will be produced

promptly upon receipt.       The government is also preparing the

information obtained from Defendant’s cell phone and it will be

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produced as soon as it is available.          The government is also

engaged in determining whether there is any exculpatory

information within the meaning of LR 116.2(b)(1)(D-E) and will

produce such information should it become available.

     Other than those items, final expert disclosures and

discovery, and any pretrial discovery required by the Local

Rules, the government does not presently anticipate producing or

requesting any other additional discovery.           Should the

government receive any reports or other discoverable information

in addition to that outlined above, it will be produced as

required by Rule 16 and the Local Rules.

     The defendant does not anticipate producing any additional

discovery other than that set forth in paragraph 6, below.

     3.    Timing of Additional Discovery Requests

     The defendant is reviewing the discovery provided by the

government and requests until February 28, 2019 to file a

discovery letter.      The government assents to that request.

     4.    Protective Orders

     It does not presently appear that any protective orders are

anticipated by the parties.        Should that change, the parties

will address those issues promptly.

     5.    Pretrial Motions

     If discovery motions are necessary, the parties will

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propose a filing schedule at the Interim Status Conference. The

parties will propose a schedule for any additional pretrial

motions at the Final Status Conference.

     6. Expert Discovery

     The government anticipates that, unless there is a

stipulation regarding the firearms involved in this case, it

will offer expert testimony regarding the charged firearm and

ammunition, i.e., that the items seized from the defendant on

the dates identified in the Indictment were Aa firearm@ and

“ammunition”   within the meaning of 18 U.S.C. '921.

     The government also expects to introduce expert opinion at

trial that the charged firearms have the requisite nexus with

interstate commerce (i.e., that they crossed a state line or an

international boundary prior to being purchased from the

defendant.   You have already received the report on this issue

from ATF S/A Patrick Briody. The government is also reserving

the right to introduce testimony about the infrequency with

which fingerprints are obtained from firearms and how well

fingerprint material will stand up to the passage of time.            The

government has already provided the defendant with reports

relating to some anticipated expert testimony and reserves the

right to supplement these disclosures. The government will make

its final expert disclosures 21 days before trial and defendant

will make its disclosures 7 days before trial.

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     The government also expects to introduce ballistics

evidence comparing shell casings/spent cartridges from the

charged guns with other such casings and cartridges recovered

from other shots fired incidents described in the discovery

produced to date.   Although this information is likely to be

used at sentencing, the government reserves the right to use

this information and the ballistician’s opinion at trial upon

notice to the defendant.

     7. Speedy Trial Act Calculations

     The parties have conferred on the periods excludable from

all Speedy Trial Act calculations and believe that the following

periods are excludable:

   10/31/18-1/18/19              Excluded per order dated 11/13/18

   1/18/19-Interim Status        Excluded at the request of the
                                 parties

As of the next Status Conference (assuming that all of the

foregoing requests are allowed), 0 days will have been counted

and 70 days will remain under the Speedy Trial Act.

    8. Next Status Conference

     The parties request that an Interim Status Conference be

scheduled during the week of March 4, 2019, or as soon

thereafter as is convenient for the Court and ask that the time

between the Initial Status Conference and the Interim Status




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Conference be excluded from all Speedy Trial Calculations.

                               Respectfully submitted,
                               ANDREW E.LELLING
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                       CERTIFICATE OF SERVICE

     The government hereby certifies that the foregoing was this
day filed through the ECF system and will be sent electronically
to the registered participants as identified on the Notice of
Electronic Filing (ANEF@) and paper copies will be sent to those
indicated as non-registered participants.

                                 /S John A. Wortmann, Jr.
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                                 Assistant U.S. Attorney




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